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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD. and
CONSUMER SERVICE ALLIANCE OF
TEXAS,
                   Plaintiffs,
      v.                                               Civil Action No. 1:18-cv-00295

CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL
MULVANEY, in his official capacity as
Acting Director, Consumer Financial
Protection Bureau,
                   Defendants.



               PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENTS

     Pursuant to Fed. R. Civ. P. 7.1, Plaintiffs provide the following information:

              Community Financial Services Association of America, Ltd. has no parent
               corporation, and no publicly-held corporation owns 10% or more of its stock.

              Consumer Service Alliance of Texas has no parent corporation, and no publicly-
               held corporation owns 10% or more of its stock.
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Dated: April 9, 2018                Respectfully submitted,



                                    /s/ Laura Jane Durfee____________
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                                    *Applications for admission pro hac vice pending
